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 8                            UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION

11

12 WAYMO LLC,                                  Case No. 3:17-cv-00939-WHA

13                                             STIPULATION AND [PROPOSED]
                       Plaintiff,              ORDER OF DISMISSAL
14

15          v.

16 UBER TECHNOLOGIES, INC.,
   OTTOMOTTO LLC; OTTO TRUCKING
17 LLC,

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                       Defendants.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
     Case No.3:17-cv-00939-WHA
     sf-3864987
                  1            IT IS HEREBY STIPULATED, by the undersigned counsel for Plaintiff Waymo LLC and

                  2 Defendants Uber Technologies, Inc. and Ottomotto LLC (collectively, “Uber”), that pursuant to a

                  3 confidential settlement agreement, all claims in this action are dismissed with prejudice, all parties

                  4 to bear their own attorney’s fees and costs.

                  5 Dated: February 8, 2018                    QUINN EMANUEL URQUHART & SULLIVAN, LLP

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                  7                                            By: /s/ Charles K. Verhoeven
                                                                       CHARLES K. VERHOEVEN
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                  9                                                     Attorneys for Plaintiff
                                                                        WAYMO LLC
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                12 Dated: February 8, 2018                     MORRISON & FOERSTER LLP

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                14                                             By: /s/ Michael A. Jacobs
                                                                        MICHAEL A. JACOBS
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                                                                         Attorneys for Defendants
                16                                                       UBER TECHNOLOGIES, INC.
                                                                         and OTTOMOTTO LLC
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                        PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                 February 9 2018
                        DATED: ____________,                       ___________________________________
                21                                                     The Honorable William Alsup

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                        STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
04140-00011/9851363.1   Case No.3:17-cv-00939-WHA
                        sf-3864987
